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USDC SDNY
DOCUMENT ELECTRONICALLY
FILED
DOC#: October 1, 2020
DATE FILED: _/O+ /6-2
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
¥
UNITED STATES OF AMERICA
ye WAIVER OF RIGHT TO BE PRESENT
AT CRIMINAL PROCEEDING
Lionel Moore
’ ALG
Defendant. AZ cg. 274 (_JC_)

 

 

Check Proceeding that Applles

Arraignment

[have been given a copy of the indictment containing the charges against me and have reviewed it with my
attorney. | understand that | have a right to appear before a Judge in a courtroom in the Southern District
of New York to confirm that | have received and reviewed the indictment; to have the Indictment read aloud
to me if | wish; and to enter a plea of either guilty or not guilty before the judge. After consultation with
my attorney, | wish to plead not guilty. By signing this document, | wish to advise the court of the following.
i willingly give up my right to appear in a courtroom in the Southern District of New York to advise the court
that:

1) thave received and reviewed a copy of the indictment.
2} ido not need the judge to read the indictment aloud to me.
3) I plead not guilty to the charges against me in the Indictment.

Date:

 

Signature of Defendant

 

Print Name
Bail Hering

| am applying or in the future may apply for release from detention, or if not detained, for modification of the conditions of my release
from custody, that is, my bail conditions. | understand that | have a right to appear before a judge in a courtroom in the Southern
District of New York at the time that my attorney makes such an application. | have discussed these rights with my attorney and wish
to give up these rights for the period of time in which access to the courthouse has been restricted on account of the COVID-19
pandemic. | request that my attorney be permitted to make applications for my release fram custody or for modification of the
conditions of my release even though | will not be present, and to make such applications in writing or by telephone in my
attorney's discretion. ** in light of the exigent circumstances caused by the COVID-19 pandemic, which prompts the making of this
emergency request for relief on behalf of Mr. Moore, coupled with the suspension of legal visiting and my inability to arrange a timely
legal call with Mr. Moore, | walye his appearance for the limited purpose of the compassionate release hearing scheduled for October
2, 2020 at 10 a.m. GO / -

Date: 10,1.20

 

Signature of Defendant

Lionel Moore by James Bell

Print Name

 

 
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X Conference

| understand that | have a right to be present at all conferences
£ New York, unless the conference involves only a question of
1) set a schedule for the case including the date at which

| have been charged in an indictment with violations of federal law.
concerning this indictment that are held by a judge in the Southern District o

law. | understand that at these conferences the judge may, among other things, ; 4
the trial will be held, and 2) determine whether, under the Speedy Trial Act, certain periods of time should be properly excluded in setting

the time by which the trial must occur. | have discussed these issues with my attorney and wish to give up my right to be present at the
conferences. By signing this document, | wish to advise the court that | willingly give up my right to be present at the conferences in my
case for the period of time in which access to the courthouse has been restricted on account of the COVID-19 pandemic. | request that my

attorney be permitted to represent my interests at the proceedings even though | will not be present. aoe In light of the exigent
circumstances caused by the COVID-19 pandemic, which prompts the making of this emergency request for relief on behalf of Mr. Moore,

coupled with the suspension of legal visiting and my inability to arrange a timely legal call with Mr. Moore, | waive his appearance for the
limited purpose of the compassionate release hearing scheduled for October 2, 2020 at 10 a.m.

Date: 10,1.20 o

Signature of Defendant

Lionel Moore by James Bell

Print Name

 

{ hereby affirm that | am aware of my obligation to discuss with my client the charges contained in the indictment,
my client's rights to attend and participate in the criminal proceedings encompassed by this waiver, and this waiver
form. | affirm that my client knowingly and voluntarily consents to the proceedings being held in my client's absence.
| will inform my client of what transpires at the proceedings and provide my client with a copy of the transcript of

the proceedings, If requested.

Date:

 

Signature of Defense Counsel

 

Print Name

Addendum for a defendant who requires services of an interpreter:

J used the services of an interpreter to discuss these Issues with the defendant, The Interpreter also translated this
document, in its entirety, to the defendant before the defendant signed it. The interpreter’s name is:

x

 

Date:

Signature of Defense Counsel

Lrdie 7 Cong

Signature of Judge

Date: \iy- 4-20

 

 
